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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge Raymond P. Moore


Criminal Case No. 15-cr-00149-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.   RAUL CARAVEO,
2.   PAMILA LUCERO,
3.   SABRINA CARAVEO,
4.   EUGENE CHAVEZ,
5.   CAROLINA ARAGON,
6.   CRISTINA PORTILLOS,
7.   CONRAD ARCHULETA, and
8.   NANCY GUZMAN,

       Defendants.



                ORDER ON GOVERNMENT'S UNOPPOSED MOTION TO
                         SUPPLEMENT ITS JAMES LOG


       THIS MATTER comes before the Court upon the Government's Unopposed Motion to

Supplement Its James Log (ECF No. 362), with statements from three additional recorded calls.

The Government also seeks permission to file a code for bases for admission of the statements

contained in the Supplemental James Log for ease of reference.

       The Court having considered this motion, it is hereby

       ORDERED that the Government’s Unopposed Motion to Supplement its James Log

(ECF No. 362) is GRANTED. It is further




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       ORDERED that the Government may file a Supplemental James Log, along with a code

for bases for admission of the statements contained in the log.


       DATED this 3rd day of March, 2016.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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